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CoreCivic official responds to concerns
about Whiteville Correctional conditions
September 14, 2023 by Kyle Peppers (https://www.wbbjtv.com/author/kyle-peppers/)

WHITEVILLE, Tenn. — Officials at Whiteville Correctional Facility are responding to a number
of recent concerns surrounding the facility.




Earlier this year, several media outlets reported an incident involving inmates “restraining” an
officer, which initiated lockdown procedures. Following that incident, multiple Tipsters reached
out to us with concerns about conditions within the facility.

Additionally, Tipsters also alerted us to an inmate death that occurred on September 6.

Brian Todd, Manager of Public Affairs at CoreCivic, provided a response that addresses multi-
ple topics, including staffing, meals, contraband, and use of lockdowns.

Todd states in part, “We take seriously our mission and obligation to provide a safe, humane,
and appropriate environment for those in our care.”

CoreCivic is privately owned with facilities across the U.S., including Whiteville Correctional
Facility and Hardeman County Correctional Facility. Further data and annual reports on the fa-
cilities can be found at this link (https://www.tn.gov/correction/statistics-and-information/annual-
reports.html).

View the full statement from Brian Todd below:




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     We take seriously our mission and obligation to provide a safe, humane, and appro-
     priate environment for those in our care. Our Whiteville Correctional Facility (WCF),
     and all our facilities, are subject to multiple layers of oversight and are monitored very
     closely by our government partners at the Tennessee Department of Correction
     (TDOC) to ensure our full compliance with policies and procedures.

     On Wednesday, September 6, at 10:48 a.m. CDT, a medical emergency was called at
     WCF. Medical responders immediately assessed an unresponsive inmate and initi-
     ated CPR. The decision was quickly made to transport the individual to an outside
     hospital for further medical treatment. Medical staff continued to perform CPR until
     EMS arrived to transport the individual. The individual was pronounced deceased by
     a physician at the hospital. We immediately alerted our partners at TDOC, and the
     death is under investigation.

     What follows are initiatives and efforts that have and will continue to be our primary
     focus at WCF.

     Staffing and Recruitment
     Correctional agencies across the country, both public and private, have faced staffing
     challenges. Even as CoreCivic focuses on addressing these challenges, we work to
     meet or exceed our daily staffing patterns, which are designed to ensure the safety of
     the facility. Those staffing patterns are reviewed and approved by our partners at
     TDOC.

     We have worked hard to strengthen our employee recruiting efforts at all of our
     Tennessee facilities including WCF by significantly increasing wages and bonuses.
     These efforts are in lock step with TDOC, and we appreciate their support as we work
     together to ensure safe, secure facilities system-wide. Our training managers also set
     teamwork goals and educate staff on other incentives and benefits such as health in-
     surance, a 401(k) matching savings and retirement plan, paid time off, the CoreCivic
     University program, the CoreCivic Scholarship Fund, and more. We continue to moni-
     tor and adjust recruitment and retention efforts to ensure we remain an attractive op-
     tion for job seekers.

     Meals and Nutrition
     Any allegation that WCF’s kitchen has been closed or that inmates aren’t receiving
     meals is false. We proudly serve three nutritious meals every day to everyone in our
     care at WCF. Staff and leadership at the facility also routinely eat the same meals that
     are served to inmates.

     Contraband
     The introduction of contraband in correctional settings is a nationwide challenge that
     requires close and constant collaboration to prevent. CoreCivic has a zero-tolerance
     policy for the introduction of contraband into our facilities. We work as one team with
     local, state, and federal law enforcement on investigative and intervention efforts to
     remove, detect, and prevent the introduction of contraband at any of our facilities. At
     WCF, and all our other Tennessee-based facilities, we are using the new body scan-
     ner screening technologies that were recently announced by TDOC. You can read
     more about these full body scanners here
     (https://www.tn.gov/correction/news/2022/12/29/body-scanner-screening-required-at-
     all-tdoc-facilities.html).

     Use of Lockdowns
     It is important to understand that a lockdown can be used for a variety of reasons to
     ensure safety, including regular precautionary facility-wide security searches. This
     procedure is not unique to WCF and is a commonly used safety measure in correc-
     tional settings throughout Tennessee and across the country.

     In both policy and practice, CoreCivic respects the dignity of every individual en-
     trusted to our care. We have clear lines of communication for those in our care to
     make concerns known without fear of repercussions, including in-facility reporting, a
     company-wide hotline accessible anonymously internally and externally, and direct
     access to our government partners.


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